                                               Case 15-53700-wlh            Doc 392       Filed 07/30/21 Entered 07/30/21 17:16:53                                      Desc
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                                                                   Individual Estate Property Record and Report
                                                                                    Asset Cases
Case No.:    15-53700-WLH                                                                                                             Trustee Name:        (300320) S. Gregory Hays
Case Name:      ROBERTSON, BRENDA KAY                                                                                                 Date Filed (f) or Converted (c): 02/27/2015 (f)
                                                                                                                                      § 341(a) Meeting Date:       04/07/2015
For Period Ending:     06/30/2021                                                                                                     Claims Bar Date: 09/30/2015

                                                    1                                         2                              3                            4                      5                          6

                                            Asset Description                              Petition/                 Estimated Net Value           Property Formally         Sale/Funds                Asset Fully
                                 (Scheduled And Unscheduled (u) Property)                Unscheduled            (Value Determined By Trustee,         Abandoned            Received by the          Administered (FA)/
                                                                                            Values                 Less Liens, Exemptions,        OA=§554(a) abandon.          Estate                Gross Value of
  Ref. #                                                                                                               and Other Costs)                                                             Remaining Assets

    1       Checking Account with Regions Bank                                                           0.00                              0.00                                              0.00                        FA

    2       Checking Account with Ameris Bank                                                           50.00                              0.00                                              0.00                        FA

    3       Household Goods and Furnishings                                                         3,000.00                               0.00                                              0.00                        FA

    4       Clothing                                                                                   200.00                              0.00                                              0.00                        FA

    5       Jewelry                                                                                    300.00                              0.00                                              0.00                        FA

    6       401(k) with Wells Fargo Advisors                                                      259,288.23                               0.00                                              0.00                        FA

    7       100% Ownership in B. Kay Builders Corporation                                                0.00                              0.00                                              0.00                        FA

    8       100% Ownership in Gilbert Ventures, LLC                                                      0.00                        18,000.00                                        20,000.00                          FA

    9       100% Ownership in Bice Ventures, LLC                                                         0.00                              0.00                                              0.00                        FA

   10*      100% Ownership in Woodmond Ventures, LLC (See Footnote)                                      0.00                              0.00                                       38,054.36                      0.00

    11      100% Ownership in Mykassi Ventures, LLC                                                      0.00                        45,000.00                                       171,507.86                          FA

    12      33% Ownership in HBC Communities, LLC                                                        0.00                              0.00                                              0.00                        FA

    13      33% Ownership in Seymour Estates, LLC                                                        0.00                              0.00                                              0.00                        FA

    14      Monthly Social Security Benefits                                                           984.00                              0.00                                              0.00                        FA

    15      1989 Mercedes Benz 560SL                                                               10,000.00                               0.00                                       16,000.00                          FA

   16*      Adversary # 17-05046, Hays v. Lowrey et al (u) (See Footnote)                         145,000.00                        145,000.00                                       145,000.00                          FA

   16       Assets               Totals        (Excluding unknown values)                      $418,822.23                        $208,000.00                                     $390,562.22                       $0.00


     RE PROP# 10           Woodmond Ventures owned three improved real properties in Clayton County and one property in Henry County. Trustee sold the properties in February 2019 netting $38,054.36.
                           Funds are held in a Woodmond Ventures bank account pending resolution of LLC.
     RE PROP# 16           This adversary proceeding relates to four pre-petition transfers that debtor made to or for the benefit of her relatives or their businesses.
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                                                          Individual Estate Property Record and Report
                                                                           Asset Cases
Case No.:    15-53700-WLH                                                                                                  Trustee Name:      (300320) S. Gregory Hays
Case Name:     ROBERTSON, BRENDA KAY                                                                                       Date Filed (f) or Converted (c): 02/27/2015 (f)
                                                                                                                           § 341(a) Meeting Date:   04/07/2015
For Period Ending:     06/30/2021                                                                                          Claims Bar Date: 09/30/2015


      Major Activities Affecting Case Closing:
                                    The Trustee has completed the liquidation of the estate assets.

                                    Woodmond Ventures LLC (Asset # 10) owned three improved real properties in Clayton County and one property in Henry County. Trustee sold the
                                    properties in February 2019 netting $38,054.36. Funds are held in a Woodmond Ventures bank account pending resolution of the LLC.

                                    Gilbert Ventures LLC (Asset # 8) owned unencumbered, undeveloped properties located at in Clayton County, GA. Trustee and property co-owner
                                    negotiated a sale price of Debtor's interest in properties. Trustee sold the Debtor's interest in properties in December 2018 for $20,000. Funds from the
                                    liquidation of the Gilbert Ventures assets have been distributed to the bankruptcy estate account for payment of interim administrative and unsecured
                                    claims.

                                    Mykassi Ventures LLC (Asset # 11) owned properties located at (1) 196 Hemlock Lane, Lot 15 & 16, Clarkesville, Habersham County, Georgia 30523;
                                    and (2) Lots 1, 2, 3, 4, 5, and 6 Hardman Place, LL83, 11th District, Habersham County, Georgia 30523. Trustee sold the properties in January 2019
                                    netting $171,507.86. Funds from the liquidation of the Mykassi Ventures assets have been distributed to the bankruptcy estate account for payment of
                                    interim administrative and unsecured claims.

                                    April 2020 - Gilbert Ventures LLC and Mykaasi Ventures LLC have been dissolved with the State of Georgia and the Trustee has distributed the funds
                                    from the bank accounts in these entities names to the bankruptcy estate.

                                    Because Woodmond Ventures LLC actively rented properties to third party tenants, the Trustee will dissolve this entity through a more lengthy process.
                                    Under applicable State law (O.C.G.A. §§ 14-11-608 and 609), a claimant has two years from the filing of the Certificate of Termination for this entity
                                    (June 23, 2020) to bring a lawsuit. The Trustee is reviewing methods for the quicker resolution of Woodmond dissolution.

                                    On July 29, 2020, an Order was entered approving interim payment of professional fees and expenses and a distribution of $76,524.35 to general
                                    unsecured claims.

                                    July 2021 - Trustee is in the process of preparing his final report.


      Initial Projected Date Of Final Report (TFR):             06/30/2017                                 Current Projected Date Of Final Report (TFR):              08/31/2021


             07/30/2021                                                                                     /s/S. Gregory Hays

                Date                                                                                        S. Gregory Hays
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                                                                        Cash Receipts And Disbursements Record
Case No.:                        15-53700-WLH                                                                  Trustee Name:                      S. Gregory Hays (300320)
Case Name:                       ROBERTSON, BRENDA KAY                                                         Bank Name:                         Mechanics Bank
Taxpayer ID #:                   **-***3531                                                                    Account #:                         ******7600 Checking
For Period Ending:               06/30/2021                                                                    Blanket Bond (per case limit):     $31,525,000.00
                                                                                                               Separate Bond (if applicable):     N/A

    1            2                                    3                                                        4                                              5                       6                      7

  Trans.    Check or                    Paid To / Received From                            Description of Transaction                      Uniform          Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                                                                       Tran. Code          $                        $

 03/07/18     {16}       Chamberlain Hrdlicka Escrow (For Defendants)    Settlement of Hays v. Lowrey, et al., Adversary Proceeding No.   1229-000             145,000.00                                    145,000.00
                                                                         17-5046-WLH per Order, Dkt # 282
 03/30/18                Rabobank, N.A.                                  Bank and Technology Services Fees                                2600-000                                          152.94           144,847.06
 04/30/18                Rabobank, N.A.                                  Bank and Technology Services Fees                                2600-000                                          201.39           144,645.67
 05/31/18                Rabobank, N.A.                                  Bank and Technology Services Fees                                2600-000                                          228.87           144,416.80
 06/29/18                Rabobank, N.A.                                  Bank and Technology Services Fees                                2600-000                                          200.79           144,216.01
 07/31/18                Rabobank, N.A.                                  Bank and Technology Services Fees                                2600-000                                          221.26           143,994.75
 08/31/18                Rabobank, N.A.                                  Bank and Technology Services Fees                                2600-000                                          214.01           143,780.74
 09/28/18                Rabobank, N.A.                                  Bank and Technology Services Fees                                2600-000                                          110.29           143,670.45
 10/31/18                Rabobank, N.A.                                  Bank and Technology Services Fees                                2600-000                                          129.89           143,540.56
 11/20/19     {15}       Bullseye Auction & Appraisal LLC                Sale of Mercedes to Charles McDaniel Per Order, Dkt # 369.       1129-000                 16,000.00                                 159,540.56
 11/21/19     101        Bullseye Auction & Appraisal LLC                Auctioneer Commission and Expenses on Sale of Mercedes,                                                           2,052.35          157,488.21
                                                                         Paid per Order, Dkt # 369.
                                                                         Auctioneer Commission, Paid per Order, Dkt # 369.                3610-000
                                                                                                                             $1,600.00
                                                                         Auctioneer Expenses, Paid per Order, Dkt # 369.                  3620-000
                                                                                                                               $452.35
 12/09/19     102        Brenda Kay Robertson                            Payment of Exemption in 1989 Mercedes Benz 560SL. Paid           8100-002                                        10,000.00          147,488.21
                                                                         per Order, Dkt # 373.
 01/30/20                Transition transfer Debit                       Transition transfer debit. Transfer from Mechanics Bank          9999-000                                     147,488.21                     0.00
                                                                         account to East West Bank account

                                                                            COLUMN TOTALS                                                                       161,000.00             161,000.00                     $0.00
                                                                                    Less: Bank Transfers/CDs                                                            0.00           147,488.21
                                                                            Subtotal                                                                            161,000.00                13,511.79
                                                                                    Less: Payments to Debtors                                                                             10,000.00

                                                                            NET Receipts / Disbursements                                                      $161,000.00                 $3,511.79




{ } Asset Reference(s)                                                                                                                                                         ! - transaction has not been cleared
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                                                                   Cash Receipts And Disbursements Record
Case No.:                       15-53700-WLH                                                               Trustee Name:                       S. Gregory Hays (300320)
Case Name:                      ROBERTSON, BRENDA KAY                                                      Bank Name:                          East West Bank
Taxpayer ID #:                  **-***3531                                                                 Account #:                          ******0043 Demand Deposit Account
For Period Ending:              06/30/2021                                                                 Blanket Bond (per case limit):      $31,525,000.00
                                                                                                           Separate Bond (if applicable):      N/A

    1            2                                    3                                                    4                                               5                       6                      7

  Trans.    Check or                     Paid To / Received From                      Description of Transaction                        Uniform          Deposit              Disbursement         Account Balance
   Date      Ref. #                                                                                                                    Tran. Code          $                        $

 01/30/20                Transition Transfer Credit                 Transition Transfer Credit. Transfer from Mechanics Bank           9999-000             147,488.21                                    147,488.21
                                                                    account to East West Bank account
 03/31/20                East West Bank                             Bank and Technology Service Fee                                    2600-000                                          148.28           147,339.93
 07/29/20                To Account #******0043                     Transfer from Gilbert Venture funds to Robertson bankruptcy        9999-000                 20,000.00                                 167,339.93
                                                                    estate account.
 07/29/20                To Account #******0043 (Robertson)         Transfer from Mykassi Venture funds to Robertson bankruptcy        9999-000             169,917.39                                    337,257.32
                                                                    estate account.
 07/29/20    1000        S. Gregory Hays                            Trustee interim compensation and expenses paid per Order,                                                          33,855.68          303,401.64
                                                                    Dkt # 384.
                         S. Gregory Hays                            Trustee interim compensation paid per Order, Dkt # 384.            2100-000
                                                                                                                          $33,682.90
                         S. Gregory Hays                            Trustee expenses paid per Order, Dkt # 384.                        2200-000
                                                                                                                            $172.78
 07/29/20    1001        Hays Financial Consulting, LLC             Interim accountant fees and expenses paid per Order, Dkt #                                                         34,720.72          268,680.92
                                                                    384.
                         Hays Financial Consulting, LLC             Accountants interim fees paid per Order, Dkt # 384.                3310-000
                                                                                                                          $34,415.00
                         Hays Financial Consulting, LLC             Accountants expenses paid per Order, Dkt # 384.                    3320-000
                                                                                                                            $305.72
 07/29/20    1002        Arnall Golden Gregory LLP                  Interim attorney fees paid per Order, Dkt # 384.                   3210-000                                     150,000.00            118,680.92
 07/31/20                East West Bank                             Bank and Technology Services Fees                                  2600-000                                          619.87           118,061.05
 08/13/20    1003        Fidelity Bank                              Interim Distribution to unsecured creditors per Order, Docket #    7100-000                                         5,002.17          113,058.88
                                                                    385.
                                                                    Stopped on 11/16/2020
 08/13/20    1004        Value Recovery Group, L.P.                 Interim Distribution to unsecured creditors per Order, Docket #    7100-000                                          586.59           112,472.29
                                                                    385.
 08/13/20    1005        RBC Centura Bank                           Interim Distribution to unsecured creditors per Order, Docket #    7100-000                                         6,607.55          105,864.74
                                                                    385.
 08/13/20    1006        BlueAsh Group, LLC                         Interim Distribution to unsecured creditors per Order, Docket #    7100-000                                        64,328.04              41,536.70
                                                                    385.
 08/31/20                East West Bank                             Bank and Technology Services Fees                                  2600-000                                          255.23               41,281.47
 09/30/20                East West Bank                             Bank and Technology Services Fees                                  2600-000                                          143.81               41,137.66


                                                                                                                                 Page Subtotals:          $337,405.60             $296,267.94


{ } Asset Reference(s)                                                                                                                                                      ! - transaction has not been cleared
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                                                                   Cash Receipts And Disbursements Record
Case No.:                       15-53700-WLH                                                               Trustee Name:                      S. Gregory Hays (300320)
Case Name:                      ROBERTSON, BRENDA KAY                                                      Bank Name:                         East West Bank
Taxpayer ID #:                  **-***3531                                                                 Account #:                         ******0043 Demand Deposit Account
For Period Ending:              06/30/2021                                                                 Blanket Bond (per case limit):     $31,525,000.00
                                                                                                           Separate Bond (if applicable):     N/A

    1            2                                 3                                                       4                                              5                      6                      7

  Trans.    Check or                     Paid To / Received From                      Description of Transaction                       Uniform          Deposit             Disbursement          Account Balance
   Date      Ref. #                                                                                                                   Tran. Code          $                       $

 10/30/20                East West Bank                             Bank and Technology Services Fees                                 2600-000                                         134.57               41,003.09
 11/16/20    1003        Fidelity Bank                              Interim Distribution to unsecured creditors per Order, Docket #   7100-000                                       -5,002.17              46,005.26
                                                                    385.
                                                                    Stopped: check issued on 08/13/2020
 11/30/20                East West Bank                             Bank and Technology Services Fees                                 2600-000                                         129.87               45,875.39
 12/01/20    1007        Fidelity Bank nka Ameris Bank              Replacement Check. Interim Distribution to unsecured creditors    7100-000                                       5,002.17               40,873.22
                                                                    per Order, Docket # 385.
 12/31/20                East West Bank                             Bank and Technology Services Fees                                 2600-000                                         147.57               40,725.65
 01/29/21                East West Bank                             Bank and Technology Services Fees                                 2600-000                                         126.04               40,599.61
 02/26/21                East West Bank                             Bank and Technology Services Fees                                 2600-000                                         117.65               40,481.96
 03/31/21                East West Bank                             Bank and Technology Services Fees                                 2600-000                                         138.45               40,343.51
 04/30/21                East West Bank                             Bank and Technology Services Fees                                 2600-000                                         125.64               40,217.87
 05/28/21                East West Bank                             Bank and Technology Services Fees                                 2600-000                                         117.08               40,100.79
 06/30/21                East West Bank                             Bank and Technology Services Fees                                 2600-000                                         137.78               39,963.01

                                                                       COLUMN TOTALS                                                                        337,405.60            297,442.59              $39,963.01
                                                                               Less: Bank Transfers/CDs                                                     337,405.60                     0.00
                                                                       Subtotal                                                                                    0.00           297,442.59
                                                                               Less: Payments to Debtors                                                                                   0.00

                                                                       NET Receipts / Disbursements                                                               $0.00          $297,442.59




{ } Asset Reference(s)                                                                                                                                                    ! - transaction has not been cleared
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                                                               Cash Receipts And Disbursements Record
Case No.:                      15-53700-WLH                                                            Trustee Name:                    S. Gregory Hays (300320)
Case Name:                     ROBERTSON, BRENDA KAY                                                   Bank Name:                       East West Bank
Taxpayer ID #:                 **-***3531                                                              Account #:                       ******0260 Woodmond Ventures LLC Funds
For Period Ending:             06/30/2021                                                              Blanket Bond (per case limit):   $31,525,000.00
                                                                                                       Separate Bond (if applicable):   N/A

    1            2                               3                                                     4                                            5                       6                      7

  Trans.    Check or                 Paid To / Received From                       Description of Transaction                    Uniform          Deposit              Disbursement          Account Balance
   Date      Ref. #                                                                                                             Tran. Code          $                        $

 03/06/20     {10}       Woodmond Ventures LLC                  Transfer to Robertson case to hold pending final distribution   1129-000                 38,054.36                                     38,054.36
                                                                from LLC

                                                                   COLUMN TOTALS                                                                         38,054.36                    0.00           $38,054.36
                                                                           Less: Bank Transfers/CDs                                                           0.00                    0.00
                                                                   Subtotal                                                                              38,054.36                    0.00
                                                                           Less: Payments to Debtors                                                                                  0.00

                                                                   NET Receipts / Disbursements                                                       $38,054.36                   $0.00




{ } Asset Reference(s)                                                                                                                                               ! - transaction has not been cleared
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                                                                 Cash Receipts And Disbursements Record
Case No.:                       15-53700-WLH                                                           Trustee Name:                    S. Gregory Hays (300320)
Case Name:                      ROBERTSON, BRENDA KAY                                                  Bank Name:                       East West Bank
Taxpayer ID #:                  **-***3531                                                             Account #:                       ******0274 Gilbert Ventures LLC Funds
For Period Ending:              06/30/2021                                                             Blanket Bond (per case limit):   $31,525,000.00
                                                                                                       Separate Bond (if applicable):   N/A

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  Trans.    Check or                   Paid To / Received From                      Description of Transaction                   Uniform          Deposit              Disbursement          Account Balance
   Date      Ref. #                                                                                                             Tran. Code          $                        $

 04/17/20     {8}        Gilbert Ventures LLC                     Distribution from LLC                                         1129-000                 20,000.00                                     20,000.00
 07/29/20                To Account #******0043 (Robertson)       Transfer from Gilbert Venture funds to Robertson bankruptcy   9999-000                                        20,000.00                   0.00
                                                                  estate account.

                                                                     COLUMN TOTALS                                                                       20,000.00              20,000.00                   $0.00
                                                                             Less: Bank Transfers/CDs                                                         0.00              20,000.00
                                                                     Subtotal                                                                            20,000.00                    0.00
                                                                             Less: Payments to Debtors                                                                                0.00

                                                                     NET Receipts / Disbursements                                                     $20,000.00                    $0.00




{ } Asset Reference(s)                                                                                                                                               ! - transaction has not been cleared
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                                                                 Cash Receipts And Disbursements Record
Case No.:                       15-53700-WLH                                                           Trustee Name:                    S. Gregory Hays (300320)
Case Name:                      ROBERTSON, BRENDA KAY                                                  Bank Name:                       East West Bank
Taxpayer ID #:                  **-***3531                                                             Account #:                       ******0295 Mykassi Ventures LLC Funds
For Period Ending:              06/30/2021                                                             Blanket Bond (per case limit):   $31,525,000.00
                                                                                                       Separate Bond (if applicable):   N/A

    1            2                                3                                                     4                                           5                     6                      7

  Trans.    Check or                   Paid To / Received From                      Description of Transaction                   Uniform          Deposit            Disbursement          Account Balance
   Date      Ref. #                                                                                                             Tran. Code          $                      $

 04/17/20     {11}       MyKassi Ventures LLC                     Distribution from LLC                                         1129-000             171,507.86                                   171,507.86
 04/30/20                East West Bank                           Bank and Technology Services Fees                             2600-000                                        367.74            171,140.12
 05/29/20                East West Bank                           Bank and Technology Services Fees                             2600-000                                        581.77            170,558.35
 06/30/20                East West Bank                           Bank and Technology Services Fees                             2600-000                                        640.96            169,917.39
 07/29/20                To Account #******0043 (Robertson)       Transfer from Mykassi Venture funds to Robertson bankruptcy   9999-000                                   169,917.39                     0.00
                                                                  estate account.

                                                                     COLUMN TOTALS                                                                    171,507.86           171,507.86                     $0.00
                                                                             Less: Bank Transfers/CDs                                                       0.00           169,917.39
                                                                     Subtotal                                                                         171,507.86               1,590.47
                                                                             Less: Payments to Debtors                                                                              0.00

                                                                     NET Receipts / Disbursements                                                   $171,507.86               $1,590.47




{ } Asset Reference(s)                                                                                                                                             ! - transaction has not been cleared
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                                                        Cash Receipts And Disbursements Record
Case No.:                  15-53700-WLH                                                  Trustee Name:                 S. Gregory Hays (300320)
Case Name:                 ROBERTSON, BRENDA KAY                                         Bank Name:                    East West Bank
Taxpayer ID #:             **-***3531                                                    Account #:                    ******0295 Mykassi Ventures LLC Funds
For Period Ending:         06/30/2021                                                    Blanket Bond (per case limit): $31,525,000.00
                                                                                         Separate Bond (if applicable): N/A


                                        Net Receipts:         $390,562.22
                           Plus Gross Adjustments:                  $0.00
                         Less Payments to Debtor:              $10,000.00
                 Less Other Noncompensable Items:                   $0.00

                                          Net Estate:         $380,562.22




                                                                TOTAL - ALL ACCOUNTS                         NET DEPOSITS      NET DISBURSEMENTS ACCOUNT BALANCES
                                                                ******7600 Checking                                $161,000.00             $3,511.79          $0.00

                                                                ******0043 Demand Deposit Account                             $0.00           $297,442.59        $39,963.01

                                                                ******0260 Woodmond Ventures LLC Funds                $38,054.36                     $0.00       $38,054.36

                                                                ******0274 Gilbert Ventures LLC Funds                 $20,000.00                     $0.00            $0.00

                                                                ******0295 Mykassi Ventures LLC Funds                $171,507.86                  $1,590.47           $0.00

                                                                                                                     $390,562.22             $302,544.85         $78,017.37
